Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 1 of 18 PagelD #: 14

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
__ Administrator of the Estate of Chery Buckman,
Plaintiff

v. Civil Action No. JO- 50d

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
BERDECIA, and KATHERINE MACLEAN et. al _
Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) LLOYD MCPHERSON

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 1=-12- 20/6 - Bonnie, Hera,

Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 2 of 18 PagelD #: 15

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) , Or

(1 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© I returned the summons unexecuted because 3 or
O Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 3 of 18 PagelD #: 16

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
_ Administrator of the Estate of Chery Buckman, _
Plaintiff
Vv.

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
BERDECIA, and KATHERINE MACLEAN et. al

Defendant

Civil Action No. JO-5O02.

Nee ee eee ae ee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ROMMELL BRANDT, PO BOX 1012, EAGLE BUTTE, SD 57625

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: ) —-f2-20/6 | Borente- Hoe,

Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 4 of 18 PagelD #: 17

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) 3 or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

( I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
{returned the summons unexecuted because 3 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 5 of 18 PagelD #: 18

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
Administrator of the Estate of Chery Buckman,
Plaintiff
Vv.

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
_ BERDECIA, and KATHERINE MACLEAN et. al

Defendant

Civil Action No. /O- 56 a

Nee eee ee ee

SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address) MILA BERDECIA

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: )-/2- 20/0 Bonence_ re,

Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 6 of 18 PagelD #: 19

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (U)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) 3 or

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
© I served the summons on (name of individual) , Who is
designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
© I returned the summons unexecuted because > or
O Other (specif):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 7 of 18 PagelD #: 20

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
Administrator of the Estate of Chery Buckman,

Plaintiff

 

V. Civil Action No. JO-S60 2_

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
_BERDECIA, and KATHERINE MACLEAN et. al ©
Defendant

 

Name Nemo! Nee See Se Nee Sree

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) KATHERINE MACLEAN

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date) J —/2Q-— 28/6 Borenta_ Howe

a
Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 8 of 18 PagelD #: 21

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

© I personally served the summons on the individual at (place)

on (date) ; or

[1 1 left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
 

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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as

Oo Plaintiff
Vv Civil Action No. JO- S00

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
_ BERDECIA, and KATHERINE MACLEAN et. al.

Defendant

Nee Ne ee ee ee ee ee”

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JOHN DOES NUMBER ONE

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: J-/Q-2Q0/o _ | Ronnie. he er—

Signature of' Clerk or Deputy Clerk
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) 5 or

C1 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
I returned the summons unexecuted because ; or
O Other (specif):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 11 of 18 PagelD #: 24

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
___ Administrator of the Estate of Chery Buckman,

Plaintiff

v. Civil Action No. } 0 ~-460 2

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
___ BERDECIA, and KATHERINE MACLEAN et. al

Defendant

Nee Nee ee ee ee

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JOHN DOES NUMBER TWO

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: J —/2~-2o/o Porte Heer

Signature of Clerk or Deputy Clerk
 

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Y)

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) 5 or

© 1 left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

OQ) I served the summons on (name of individual)

, Who is
designated by law to accept service of process on behalf of (name of organization)
on (date) Sor
© I returned the summons unexecuted because ;or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 13 of 18 PagelD #: 26

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
____ Administrator of the Estate of Chery Buckman,

Plaintiff

 

Civil Action No. / 0 —4300 2.

Vv.
LLOYD MCPHERSON, ROMMELL BRANDT, MILA
__BERDECIA, and KATHERINE MACLEAN et. al
Defendant

Nee ee ee ee ee ee

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JOHN DOES NUMBER THREE

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: J-/2Q-2d/0. Prova Hewa,_

"Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 14 of 18 PagelD #: 27

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (DD)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; or

C1 | left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
(1 I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional! information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 15 of 18 PagelD #: 28

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
__ Administrator of the Estate of Chery Buckman,

a Plaintiff
Civil ActionNo. /0-S@daQU

Vv.

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
_BERDECIA, and KATHERINE MACLEAN et. al

Defendant

Ne Ne ee ee ee ee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) JOHN DOES NUMBER FOUR

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

pate: J— /Q-20/0 Pearce Hee,

Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 16 of 18 PagelD #: 29

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) 5 or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
(3 I returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 17 of 18 PagelD #: 30

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of South Dakota

VERNELL BUCKMAN, individually, and as
__Administrator of the Estate of Chery Buckman,
Plaintiff
Vv.

LLOYD MCPHERSON, ROMMELL BRANDT, MILA
_BERDECIA, and KATHERINE MACLEAN et. al

Defendant

Civil Action No. /O -S5602

Nee ee ee es ee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) JOHN DOES NUMBER FIVE

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: J- /Q~20/0 Ronncee Hote, —

Signature of Clerk or Deputy Clerk
Case 5:10-cv-05002-JLV Document 4 Filed 01/12/10 Page 18 of 18 PagelD #: 31

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

[1 I personally served the summons on the individual at (place)
on (date) ;or
© I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C) I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: Se
Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
